    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 1 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) INTERNATIONAL YACHT BROKER'S ASSOCIATION, INC.
                                       c/o Robert Allen Law, as Registered Agent
                                       1441 Brickell Avenue
                                       Suite 1400
                                       Miami, FL 33131




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 2 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

          YA MON EXPEDITIONS, LLC, et al.                        )
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                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:24-cv-20805-KMM
                                                                 )
 International Yacht Broker's Association, Inc., et al.          )
                                                                 )
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                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BOATS GROUP, LLC
                                       c/o Corporation Service Company - Registered Agent
                                       1201 Hays Street
                                       Tallahassee, FL 32301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       Mar 7, 2024                                                                            s/ S.Carlson
                                                                                     Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 3 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

          YA MON EXPEDITIONS, LLC, et al.                        )
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                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:24-cv-20805-KMM
                                                                 )
 International Yacht Broker's Association, Inc., et al.          )
                                                                 )
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                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) PERMIRA ADVISERS LLC
                                       c/o CT Corporation System - Registered Agent
                                       1200 South Pine Island Road
                                       Plantation, FL 33324




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 4 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) YATCO, LLC
                                       c/o Steven J. Myers, Mgr - as Registered Agent
                                       9645 NW 61st Drive
                                       Parkland, FL 33076




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                               s/ S.Carlson
                                                                                        Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 5 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
                                                                  )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) UNITED YACHT SALES, LLC
                                       c/o Peter A. Schmidt - as Registered Agent
                                       110 SW Atlanta Avenue
                                       Stuart, FL 34994




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 6 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DENISON YACHT SALES, INC.
                                       c/o Robert Denison - as Registered Agent
                                       850 N.E. 3rd Street, #205
                                       Dania Beach, FL 33004




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 7 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DENISON NEW YACHTS, LLC.
                                       c/o High Law - as Registered Agent
                                       800 SE Indian Street
                                       Stuart, FL 34997




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 8 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) NORTHROP & JOHNSON YACHT SHIPS, LLC
                                       c/o Corporate Creations Network, Inc. - as Registered Agent
                                       801 US Highway 1
                                       North Palm Beach, FL 33408




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                              s/ S.Carlson
                                                                                       Signature of Clerk or Deputy Clerk
    Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 9 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) GALATI YACHT SALES, LLC
                                       c/o Joseph Galati - as Registered Agent
                                       900 South Bay Boulevard
                                       Anna Maria, FL 34216




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 10 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

          YA MON EXPEDITIONS, LLC, et al.                        )
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                            Plaintiff(s)                         )
                                                                 )
                                v.                                       Civil Action No. 1:24-cv-20805-KMM
                                                                 )
 International Yacht Broker's Association, Inc., et al.          )
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                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HMY YACHT SALES, INC
                                       c/o Lawrence Thomas - as Registered Agent
                                       2401 PGA Blvd
                                       Suite 200
                                       Palm Beach Gardens, FL 33410




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       Mar 7, 2024                                                                            s/ S.Carlson
                                                                                     Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 11 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ALLIED MARINE, INC
                                       c/o Robert Allen Law - as Registered Agent
                                       1441 Brickell Ave
                                       Suite 1400
                                       Miami, FL 33131




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 12 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
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                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MARINEMAX, INC.
                                       c/o Corporate Creations Network, Inc. - as Registered Agent
                                       801 US Highway 1
                                       North Palm Beach, FL 33408




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                              s/ S.Carlson
                                                                                       Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 13 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
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                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) SHARON & JACK MALATICH, LLC,
                                       c/o John Michael Malatich - as Registered Agent
                                       323 10th Ave West
                                       Suite 105
                                       Palmetto, FL 34221




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                                s/ S.Carlson
                                                                                         Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 14 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
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                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
                                                                  )
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                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) TOURNAMENT YACHT SALES, LLC
                                       c/o James A. Fields - as Registered Agent
                                       900 East Indiantown Road
                                       Suite 101
                                       Jupiter, FL 33477




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
   Case 1:24-cv-20805-KMM Document 6 Entered on FLSD Docket 03/07/2024 Page 15 of 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                 __________  District of
                                                                      of Florida
                                                                         __________

          YA MON EXPEDITIONS, LLC, et al.                         )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 1:24-cv-20805-KMM
                                                                  )
 International Yacht Broker's Association, Inc., et al.           )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RJC YACHT SALES, INC.
                                       c/o Robert J. Cury - as Registered Agent
                                       399 SE 18th Ct
                                       Fort Lauderdale, FL 33316




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Lea P. Bucciero, Esq.
                                       Podhurst Orseck P.A.
                                       One SE Third Avenue, Suite 2300
                                       Miami, Florida 33131
                                       Email: LBucciero@podhurst.com
                                       Email: RMCTeam@podhurst.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:       Mar 7, 2024                                                                             s/ S.Carlson
                                                                                      Signature of Clerk or Deputy Clerk
